Case 3:19-cv-00046-NKM-JCH Document 86 Filed 08/01/20 Page 1 of 3 Pageid#: 261




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

 DEANDRE HARRIS,                 │
                                 │
           Plaintiff,            │
                                 │
      v.                         │ Case No. 3:19-cv-46
                                 │
 JASON KESSLER, RICHARD SPENCER, │
      ET AL.,                    │
                                 │
           Defendants.           │
                                 │

 BRYAN J. JONES (VSB 87675)                             LARRY BROWN (VSB 33414)
 106 W. South St., Ste. 201                             Attorney at Law
 Charlottesville, VA 22902                              1800 Diagonal Road, Suite 600
 (P): (434) 260-7899                                    Alexandria, VA 22314
 (F): (434) 381-4397                                    (P): (703) 956-3577
 (E): bryan@bjoneslegal.com                             (F): (703) 997-1402
 Attorney for Michael Hill, Michael Tubbs,              Attorney for Plaintiff
 and League of the South




 REPLY TO PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                             TO DISMISS

        In Plaintiff’s Response in Opposition to Defendant’s Motion to Dismiss, Plaintiff states as

 follows regarding League of the South, Michael Hill, and Michael Tubbs:

        The involvement of Defendants Michael Hill, Michael Tubbs and League of the South
        (LOS) is further shown in Plaintiff’s Original Complaint. Defendant Schoep’s tweet
        identifies LOS by its abbreviation and indicates the organization was involved in the rally.
        As a leading white supremacist organization, and given that its co-founder, Michael Hill,
        and chief of staff, Michael Tubbs, were present at the rally, Plaintiff has alleged sufficient
        facts to show that these Defendants participated in the civil conspiracy to violate his rights.

        Plaintiff’s complaint fails to allege sufficient facts to support any of his claims against Hill,

 Tubbs, and the League of the South. Defendants’ Michael Hill, Michael Tubbs, and League of the

                                                   1
Case 3:19-cv-00046-NKM-JCH Document 86 Filed 08/01/20 Page 2 of 3 Pageid#: 262




 South’s mere presence at the rally is insufficient to establish a conspiracy. The fact that Schoep

 tweeted that “LOS” attended the rally is also insufficient to establish a conspiracy. Plaintiff has

 not pleaded any other facts to support any claim that Defendants Hill, Tubbs, or the League of the

 South engaged in a conspiracy.

                                          CONCLUSION

        For the reason set forth herein, Defendants’ Motion to Dismiss should be granted pursuant

 to Fed. R. Civ. P. 12(b)(6). Plaintiff fails to allege sufficient facts to support any of his claims

 against Hill, Tubbs, and League of the South.

                                                   Respectfully submitted,


                                                   /s/ Bryan J. Jones
                                                   Bryan J. Jones (VSB 87675)
                                                   106 W. South St., Ste. 201
                                                   Charlottesville, VA 22902
                                                   (P): (434) 260-7899
                                                   (F): (434) 381-4397
                                                   (E): bryan@bjoneslegal.com
                                                   Attorney for Michael Hill, Michael Tubbs,
                                                   and League of the South

 Dated: August 1, 2020




                                  CERTIFICATE OF SERVICE

        I, Bryan J. Jones, affirm that I am an attorney of record for Michael Hill, Michael Tubbs,

 and League of the South in the above-captioned civil action, and on August 1, 2020, I served a

 true and accurate copy of this document upon all attorneys of record who have registered to receive

 service of process via the Court’s Electronic Filing System by submitting said documents to said

 System.

                                                  2
Case 3:19-cv-00046-NKM-JCH Document 86 Filed 08/01/20 Page 3 of 3 Pageid#: 263




                                       /s/ Bryan J. Jones
                                       Bryan J. Jones (VSB 87675)
                                       106 W. South St., Ste. 201
                                       Charlottesville, VA 22902
                                       (P): (434) 260-7899
                                       (F): (434) 381-4397
                                       (E): bryan@bjoneslegal.com
                                       Attorney for Michael Hill, Michael Tubbs,
                                       and League of the South

 Dated: August 1, 2020




                                      3
